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                                                                         3                                   UNITED STATES DISTRICT COURT
                                                                         4                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                         6    STEVE WILSON BRIGGS,
                                                                                                                                  No. C 13-4679 PJH
                                                                         7                  Plaintiff(s),
                                                                                                                                  FIRST NOTICE OF FILING OF MOTION
                                                                         8           v.                                           FOR SUMMARY JUDGMENT
                                                                         9    NEILL BLOMKAMP, et al.,
                                                                         10              Defendant(s).
                                                                              _______________________________/
United States District Court




                                                                         11
                               For the Northern District of California




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                                                                         13          NOTICE -- WARNING TO PRO SE PLAINTIFF STEVE WILSON BRIGGS:
                                                                         14          As per the discussion at the case management conference on April 17, 2014, you
                                                                         15   are hereby notified that defendants will soon be filing a motion for summary judgment by
                                                                         16   which they seek to have your case dismissed. A motion for summary judgment under Rule
                                                                         17   56 of the Federal Rules of Civil Procedure will, if granted, end your case.
                                                                         18          Rule 56 tells you what you must do in order to oppose a motion for summary
                                                                         19   judgment. Generally, summary judgment must be granted when there is no genuine issue
                                                                         20   of material fact. That is, if there is no real dispute about any fact that would affect the result
                                                                         21   of your case, the party who asked for summary judgment is entitled to judgment as a
                                                                         22   matter of law, which will end your case. When a party you are suing makes a motion for
                                                                         23   summary judgment that is properly supported by declarations (or other sworn testimony),
                                                                         24   you cannot simply rely on what your complaint says. Instead, you must set out specific
                                                                         25   facts in declarations, depositions, answers to interrogatories, or authenticated documents,
                                                                         26   as provided in Rule 56(e), that contradict the facts shown in the defendant's declarations
                                                                         27   and documents and show that there is a genuine issue of material fact for trial. If you do
                                                                         28   not submit your own evidence in opposition, summary judgment, if appropriate, may be
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                                                                         1    entered against you. If summary judgment is granted, your case will be dismissed and
                                                                         2    there will be no trial.
                                                                         3           The court provides this "fair notice" pursuant to Rand v. Rowland, 154 F.3d 952,
                                                                         4    953-954 (9th Cir. 1998) (en banc). In Rand, the Ninth Circuit held that pro se prisoners
                                                                         5    must be given a warning about the requirements of Rule 56 of the Federal Rules of Civil
                                                                         6    Procedure pertaining to summary judgment and the consequences of such a motion. This
                                                                         7    court routinely provides these warnings in its orders of service for prisoner pro se civil rights
                                                                         8    complaints. While a Rand notice is required only in pro se prisoner cases, the court finds it
                                                                         9    appropriate to provide this notice to you, a non-prisoner pro se civil plaintiff, out of an
                                                                         10   abundance of caution.
United States District Court




                                                                         11          The Ninth Circuit recently held that Rand notices must be provided at the time the
                               For the Northern District of California




                                                                         12   motions are filed, and that notices given in advance of such motions are not sufficient.
                                                                         13   Woods v. Carey, 684 F.3d 934, 940-41 (9th Cir. 2012) (Rand notices must be given at the
                                                                         14   time motion for summary judgment is filed, not earlier); Rand at 960 (separate paper
                                                                         15   required). Accordingly, at the time that a summary judgment motion is served, defendant
                                                                         16   shall also serve a copy of this order as a further reminder of the requirements of opposing a
                                                                         17   summary judgment motion.
                                                                         18          Civil Local Rule 7-3 requires that you file your opposition to the motion for summary
                                                                         19   judgment no later than 14 days after the motion is served and filed. You may file an
                                                                         20   affidavit or declaration in support of your opposition, as well as a brief or memorandum
                                                                         21   which may not exceed 25 pages of text unless you file a request for permission of the court
                                                                         22   to exceed the page limit prior to the due date and the court grants your request. Any
                                                                         23   evidentiary and procedural objections to the motion for summary judgment must be
                                                                         24   contained within the brief or memorandum.
                                                                         25          IT IS SO ORDERED.
                                                                         26   Dated: April 17, 2014
                                                                                                                                  ______________________________
                                                                         27                                                       PHYLLIS J. HAMILTON
                                                                                                                                  United States District Judge
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